Case 2:10-mj-00191-FBS Document 2 Filed 04/27/10 Page 1 of 1 PagelD# 2
NORFOLK DIVISION

Minutes of Proceedings in Open Court

Set: _3:30 p.m. Date: April 27 2010 (

Started: 4: 34 Om Judge:__F. Bradford Stillman, USMJ_

Ended: a ON Courtroom Deputy:_L\ =<1c/yelv ul “7 C- bok
Recorded by: __ FR

 

 

 

 

 

( ) Split Time U. S. Attorney A I Oo Ayeed
Si O | Defense Coun
. Retained - Court-appointed - AFPD
S10S em Interpreter:

 

Case Number:__2:10mj191
Defendant: ANDREW WARREN

(X) Deft. Present in custody
(X) Initial Appearance - Preliminary / Detention Hearing - Early / Appointment of Counsel
(X) Deft. advised of rights, charges & right to counsel
Counsel desired / Defendant te-retain-ceunsel \-y LD ROACH, we aA ty) a\ ,
Defendant’s motion to substitute counsel
Order to substitute counsel exec., ent. & filed in open Court
Financial Affidavit filed in open Court
Court DIRECTED / DENIED appointment of counsel
Court directed deft. to reimburse govt. at rate of per month. Payments to begin
Deft. waives Removal / Preliminary hearing in this Disiniet ony
Deft. executed Waiver of Removal Hearing ( ) Waiver of Identity Hearing (In this District only)
Waiver of Detention Hearing (In this District only)
Commitment to Another District filed in open Court
Preliminary / Removal Hearing set for at before USMJ

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HB LLL

RS

 

 

 

 

 

 

( ) Preliminary Hearing held / waived. ( ) Defendant stipulated to probable cause

( ) Court finds probable cause - Deft. held for GRAND JURY or for removal to other District

(SQ Court ordered deft. removed to other District

( ) Govt. motion for Detention - GRANTED / DENIED

( ) Govt. motion to withdraw motion far detention and set bond - GRANTED / DENIED

(X) Detention Hearing scheduled for Q\>-\\Q_ at_-Y GO 2M before F (. USMJ
( ) Bond / Detention Hearing held / whived

CX) TEMPORARY DETENTION / DETENTION ORDERED (Court to prepare Order)

( ) Bondsetat $

( ) SPECIAL CONDITIONS OF RELEASE: (See Page 2)

( ) Deft. remanded to custody of U. S. Marshal

(~~ Warrant returned executed & filed in open Court

( ) Defendant is directed to next appear on at_9:00 a.m. for _Arraignment
( } Defendant is directed to next appear on at for

(X) Order of Temporary Detention executed, entered and filed in open Court,

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